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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE


              In re
                                                                      Chapter 11

              Lordstown Motors Corp., et al.,1                        Case No. 23-10831 (MFW)

                                                                      (Jointly Administered)
                                                    Debtors.



                           NOTICE OF SECOND INTERIM FEE APPLICATION
                                     REQUEST OF KPMG LLP


Name of applicant (the “Applicant”):                           KPMG, LLP

Authorized to provide professional services to:                Debtors

Date of retention:                                             August 15, 2023 effective as of the Petition Date

Period for which compensation and
reimbursement is sought:                                       October 1, 2023 through December 31, 2023

Amount of compensation sought as
actual, reasonable, and necessary:                             $ 87,815.20

Amount of expense reimbursement sought as
actual, reasonable, and necessary:                             $        0.00

          This is a:          Monthly         X          Interim _             Final Application




          1
                  The Debtors and the last four digits of their respective taxpayer identification numbers are:
          Lordstown Motors Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC
          (9101). The Debtors’ service address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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      Summary of fee applications for the compensation period:

                                 Total Amount Requested                Approved by Court to Date         Holdback
                                                                                                           Fees
                           Period                                                       Expenses @      Requested @
Date Filed / Docket No.                     Fees          Expenses     Fees @ 80%
                          Covered                                                         100%             20%
      12/20/23 /
     Docket # 849         10/01/23
                                        $ 66,287.00         $0.00      $ 53,029.60         $0.00        $   13,257.40
                             to
(3rd combined monthly)
                          11/30/23
      01/22/24 /
     Docket # 929         12/01/23
                                        $ 21,528.20         $0.00      $ 17,222.562        $0.00        $    4,305.64
                             to
     (4th monthly)
                          12/31/23

       TOTAL                            $ 87,815.20         $0.00      $ 70,252.16         $0.00        $   17,563.04




      Summary of any objection to fee application: Pending.

                 PLEASE TAKE NOTICE that, pursuant to the Court’s Order Establishing

      Procedures for Interim Compensation and Reimbursement of Expenses for

      Chapter 11 Professionals and Committee Members, dated July 25, 2023 [Docket

      No. 181] (the “Interim Compensation Order”),3 KPMG, LLP (the “Applicant”)

      hereby files its Notice of Second Interim Fee Application Request of KPMG, LLP

      (the “Interim Fee Application”) with the United States Bankruptcy Court for the

      District of Delaware, 824 North Market Street, 3rd Floor, Wilmington, Delaware

      19801 (the “Court”).

                 PLEASE TAKE FURTHER NOTICE that, pursuant to the Interim

      Compensation Order, objections, if any, to this Interim Fee Application must be

      filed with the Court by February 29, 2024 at 4:00 p.m. (ET) (the “Objection




        2
          The objection period related to the Fourth Monthly Fee Application will expire on February 12,2024 at
        4:00pm (ET).
        3
          Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the
        Interim Compensation Order.


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Deadline”) and served on the Applicant at the address set forth below and the Notice

Parties.

           A hearing to consider this Interim Fee Application and any objections

thereto will be held on March 14, 2024 at 3:00 p.m. (ET).

           IF NO TIMELY OBJECTIONS ARE FILED TO THIS INTERIM FEE

APPLICATION, THE COURT MAY ENTER AN ORDER GRANTING THIS

INTERIM FEE APPLICATION WITHOUT A HEARING.


 Dated: February 9, 2024




                                                Respectfully submitted,


                                                /s/ Scott Stelk
                                                Scott Stelk
                                                KPMG LLP
                                                345 Park Avenue
                                                New York, NY 10154-0102




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